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TRECKER & FRITZ
Attorneys at LaW

COLLIN M. (MARTY) FRITZ
ALLEN K. WILLIAMS
820 Mililani Street, Suite 701
Honolulu, Hawaii 96813-2937
Telephone: (808) 528-3900
Facsimile: (808) 533-3684
E~Mail: cmfritz@lawctr.net
allen@lawctr.net

Attorneys for Plaintiffs

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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT GF HAWAH

JENNIFER ROBINS ON AND
PAUL A. ROBINSON,
INDIVIDUALLY AND AS NEXT

FRIEND OF JACK D. ROBINSON,

Plaintiffs,
VS.

UNITED STATES OF Al\/IERICA,

Defendant.

 

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(Federal Tort Clalms Act)

COMPLAINT; SUMl\/IONS

 

 

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1. This action arises under the Federal Tort Claims Act (FTCA), 28

U.S.C. § 2671, et seq.

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2. This Court has jurisdiction pursuant to the provisions of 28 US. C. §§
1346(b), and 2671, et seq.

3. All FTCA administrative procedures have been complied With and
exhausted and the Complaint is timely iiled.

4. The acts and/or omissions complained of herein and Which form the
basis of the relief sought herein, occurred Within the District of HaWaii, and venue
is proper in this Court pursuant to 28 U.S. C. § 139l(b)(2).

5. At all times mentioned herein, Plaintiffs JENNIFER ROBINSON and
PAUL A. RC)BINSON Were lawfully married.

6. Plaintiffs JACK D. ROBINSON is a minor child of Plaintiffs
JENNIFER ROBINSCN and PAUL A. ROBINSON, Who brings this action as his
Next Friend.

7 . Plaintiffs JENNIFER ROBINSON, PAUL A. ROBINSON, and
JACK D. ROBINSON Were residents of the State of Havvaii as the time of the acts
and/or omissions as alleged herein, and are currently residents of the State of
California.

8. At all times mentioned herein, Plaintiff JENNIFER ROBINSON Was
a dependent of Plaintiff PAUL A. ROBINS ON, Who is an active duty military

personnel With the United States Navy.

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9. Defendant UNITED STATES OF Al\/IERICA is named as the
Defendant pursuant to and under the provisions of the Federal Tort Clairns Act, 28
U.S.C. §§ 1346(b) and 2671, et seq.

lO. At all times relevant herein, JENNIFER ROBINSON was eligible to
receive and did receive medical care, treatment and services (hereinafter “medical
services”) at Defendant UNITED STATES OF AMERICA’s health care facilities,
and more specifically Tripler Arrny l\/ledical Center (TAMC) in the State of
Hawaii.

ll. At all times mentioned herein, Defendant UNITED STATES OF
Al\/IERICA in operating its medical facilities had in its employ and/or agency,
among other things, doctors, nurses, and other medical personnel (hereinafter
“medical personnel”) over which it exercises exclusive control and supervision,
and is legally responsible for the acts and/or omissions of said medical personnel

12. On or about August 7, 2007, Plaintiff JENNIFER ROBINSC)N
underwent lumbar disc surgery at Tl\/IAC, for which she received medical services
from the medical personnel at TAMC.

l3. At all times herein relevant, Defendant UNITED STATES OF
Al\/[ERICA owed a duty to Plaintiff JENNIFER RC)BINSON to provide medical
services to her that would be commensurate with the requisite l<nowledge, learning,

care, sl<ill, and ability ordinarily possessed and exercised by medical personnel

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engaged in rendering medical services to patients similarly situated to Plaintiff
JENNIFER ROBINSON.

l4. At all times relevant herein, the medical services rendered to Plaintiff
JENNIFER ROBINSON by Tl\/IAC medical personnel on or about August 7, 2007,
as set forth herein, were performed negligently, and their conduct fell below the
standard of care required to properly and adequately render said medical services,
in that said medical personnel deviated from the standard of approved practice by
failing to properly render said medical services to Plaintiff JENNIFER
ROBINSON, and failing to obtain proper and adequate informed consent, and/or
were negligent careless in other respects.

15. As a direct and legal cause of the negligence of Defendant UNITED
STATES OF Al\/[ERICA, as set forth herein, Plaintiff JENNIFER ROBINSON
suffered and/ or sustained serious physical injury and pain, emotional distress, and
has been permanently injured

16. As a further direct and proximate cause of the negligence of
Defendant UNITED STATES OF Al\/IERICA, as set forth herein, Plaintiff
JENNIFER ROBINSON incurred medical and rehabilitative expenses in amounts
not presently ascertainable and she will incur such expenses in the future, and

Plaintiffs ask leave of the court to show the same at the time of trial.

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l7. As a further direct and proximate cause of the negligence of
Defendant UNITED STATES OF AMERICA, as set forth herein, Plaintiff
JENNIFER ROBINSON will incur wage losses and/or impairment of her earning
capacity in the future and Plaintiffs ask to leave of the court to show the same at
the time of trial.

18. As a further direct and proximate cause of the negligence of
Defendant UNITED STATES OF AMERICA, as set forth herein, Plaintiff
JENNIFER ROBINSON has been unable to pursue her normal activities of daily
living, including hobbies, sports, and other endeavors, and will not be able to
pursue such activities in the future.

19. As a further direct and proximate cause of the negligence of
Defendant UNITED STATES OF AMERICA, as set forth herein, and the resulting
personal injury to Plaintiff JENNIFER ROBINSON, Plaintiff PAUL A.
ROBINSON, and Plaintiff JACK D. ROBINSON, minor, suffered a loss of their
spouse’s and mother’s, respectively, services, society, companionship and
consortium, comfort and emotional support, and physical and fiduciary support and
will continue to suffer such losses in the future and Plaintiffs ask leave of this
Court to show the same at the time of trial.

WHEREFORE, Plaintiffs demand judgment against Defendant UNITED

STATES OF AMERICA for general and special damages in amounts to be shown

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at trial, for Plaintiffs’ costs, interest, and such other and further relief as the Court
deems just and proper in the premises
DATED: Honolulu, Hawaii, l\/larch ll, 2010.

Cv.m h

COLLlN l\/l. (MARTY) FRlTZ
ALLEN K. WlLLIAl\/IS
Attorneys for Plaintiffs

 

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AO 440 (Rev. 12/09) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

District of Hawaii

Jennifer Robinson and Paul Robinson, |ndividua||y
and as next friend of Jack D. Robinson

 

Plaintiij

v. Civil Action No.

United States of America

 

Defendant

SUMMONS IN A CIVIL ACTION

TOZ (Defendam ’s name and add)'ess)
United States of America
c/o EdWard Kubo, Esq., United States Attorney
300 A|a |\/loana Blvd., Room 6-100 '
' Honolu|u, Hawaii 96813

A lawsuit has been filed against you.

Within 21 `d§y()s after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an offlcer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule l2 of
the F ederal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

SUE §§Bl§ll"`lA
CLERK OF COURT

  

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Date:

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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)
Civil Action No.

PROOF OF SERVICE
(Thl's section should not be filed with the court unless required by Fetl. R. Civ. P. 4 (l))

ThiS SUmmODS fOl' (name of individual and tit/e, if any)

 

was received by me on (date)

E] l personally served the summons on the individual at (place)

 

Orl (date) g 01’

 

[:l l left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual’s last known address ; or

[:l l served the summons on (name ofindividual) , who is

 

designated by law to accept service of process on behalf of (name qforganizarion)

 

 

 

on (date) ; or
El l returned the summons unexecuted because ; or
g Oth€l` (specl`jfjt).'
My fees are $ for travel and $ for services, for a total of $ 0_00 .

l declare under penalty of perjury that this information is true.

Date:

 

Server ’s signature

 

Prz‘nted name and title

 

Server ’s address

Additional information regarding attempted service, etc:

